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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

MARVIN A. KATZ, ELOISE
DABNEY, RICKY TATE, PATRICIA

A. JACKSON, NYRA HOROWITZ, Oo? o 6 j 4 3 $
PAMELA RICHARD BROWN, CAS }:
HARRIET GEYER, ANNETTE -

SHIRLEY MAIR, LEWIS JIM SEIDEN,

and PHYLLIS SEIDEN,
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Ad Ke ry

   

Plaintiffs,
FIED by

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Sr TPR OCT
MRT HOLDINGS, LLC, MRT LLC, ~ J 2007
JAMES CLEMENTS, ZEINA SMIDI, and «Gren Ue MADDOX

F LAD" s Dist. CT.

ANN B. BRADSHAW, ha |

Defendants.

  

vs.

/

 

CLASS ACTION COMPLAINT FOR SECURITIES FRAUD AND FOR THE
SALE OF UNREGISTERED SECURITIES

It appears to Plaintiffs, and Plaintiffs allege that:
OVERVIEW OF DEFENDANTS FRAUDULENT SCHEME

l. This class action arose when Defendants MRT Holdings, LLC (“MRT
Holdings”); MRT LLC (“MRT”); James Clements (“Clements”); Zeina Smidi (“Smid”);
and Ann B. Bradshaw (“Bradshaw”); and others fraudulently offered unregistered
securities for sale in a classic Ponzi scheme.

2. Defendants did this in violation of the registration and anti-fraud
provisions of the federal securities laws. The scheme is based upon investors’ purported

“loans” to MRT for MRT to trade foreign currency futures offshore with Swiss banks,
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and has raised, according to Defendants’ own admissions, at least $50 million from
several hundred investors.

3. MRT solicits “loans” or “investments” from unsuspecting investors for the
purported purpose of trading “FOREX” futures and options. In exchange for this
investment, MRT promised and, in some cases, has paid rates of interest from about
twelve percent annually (12%) to as high as over eleven percent (11%) a month.

4. MRT’s investment program operated as a Ponzi scheme, i.e., a scheme
whereby returns are paid to investors from monies contributed by later investors.

5. The investments constitute investment contracts, and therefore, qualify as
securities under Section 2(a)(1) of The Securities Act of 1933, 15 U.S.C. § 77b(1)(1), and
Section 3(a)(10) of The Securities Exchange Act of 1934, 15 U.S.C. § 78(a)(10).

6. No registration statement has ever been filed in connection with the
investment contracts offered and sold by Defendants, and no exemption from registration
applies. Few, if any, of the purchasers or offerees qualified as accredited investors under
the federal securities laws.

7. Defendants issued materials and made statements to investors that MRT’s
FOREX trading activities are a profitable business. Clements and Bradshaw have
repeatedly represented to investors that MRT is a profitable business. But, in fact, MRT;
Clements; Bradshaw; and others are operating in the manner of a Ponzi scheme and are
suffering huge losses from whatever business operations they are engaged in.

8. MRT depends upon the sale of new investment contracts to meet its
current financial obligations, such as interest payments and capital refunds to current

investors.
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9, MRT does not now possess the financial resources to make interest
payments to current investors. In fact, some of the named plaintiffs here have not
received any payments since April 2007.

10. Based upon the foregoing, Plaintiffs immediately seek an order prohibiting
the destruction of documents, preliminary and permanent injunctions, accountings,
disgorgement, together with prejudgment interest against MRT, Clements, and Bradshaw,
and an asset freeze as to Clements and Bradshaw, based upon the Defendants’ flagrant
violations of Sections S(a), 5(c), 15 of the Securities Act of 1933 (“Securities Act’), 15
U.S.C. § 77e(a), 77e(c), 770 and Sections10(b) and 20(a) of The Securities Exchange Act
of 1934 (“Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5,
promulgated thereunder.

JURISDICTION AND VENUE

11. Plaintiffs bring this action under Sections 5(a), 5(c), and 15 of the
Securities Act, Section 10(b) of the Exchange Act, and Exchange Act Rule 10b-S.

12. This Court possesses subject matter jurisdiction under 28 U.S.C. § 1331,
Securities Act § 22(a), 15 U.S.C. § 77v(a), and Exchange Act § 27.

°3, The Defendants, directly and indirectly, made use of the mails, telephones,
and internet, to effect their fraudulent scheme.

14. Certain acts, misstatements, and courses of business that violated the
Securities Act and the Exchange Act have occurred in the Southern District of Florida.
MRT maintained or maintains its principal place of business at 7744 Peters Road, Suite

119, Plantation, Florida 33324.
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15. The Defendants, unless restrained or enjoined by this Court, will continue

to violated the federal securities laws, to the great detriment of the class members.
THE DEFENDANTS

16. MRT Holdings, it is believed, is a ficticious name for MRT, LLC, which
is an LLC, organized under the laws of the State of Florida. MRT Holdings and MRT
maintain their principal places of business at 7744 Peters Road, Suite 119, Plantation,
Florida 33324.

17. MRT, LLC is an entity organized under the laws of the State of Florida.
Its registered agent is listed on www.sunbiz.org as Accupay Services Corporation, 4801
South University Drive, Suite 300, Davie, Florida 33328.

18. James Clements resides at 3771 State Road 84, #203, Plantation, Florida
for MRT. In addition to being a primary violator, Clements acts as a controlling person
under Securities Act § 15 in the offering and sale of unregistered securities.

19, Zeina Smidi resides at 721 North Pine Island Road, Apt. 305, Plantation,
Florida 33324. According to MRT’s listing on www.sunbiz.org, Smidi serves as a
manager for MRT. In addition to being a primary violator, Smidi acts as a control person
under Securities Act § 15 in the offering and sale of unregistered securities.

20. Ann B. Bradshaw is a suspended member of the Florida Bar, Florida Bar
No. 84850. Bradshaw resides at 5364 S.W. 150 Terrace, Miramar, Florida in an
exclusive, gated community called “Reserve at Huntington.” On one occasion, Bradshaw

received at least $170,000 in proceeds from illegal securities offerings from purchasers of
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MRT’s unregistered securities. In addition to being a primary violator, Bradshaw acted
as a control person under Securities Act § 15.
THE PLAINTIFFS

21, Marvin A. Katz, who is 80 years old and retired from the United States
Navy after a career as a naval aviator, resides in Boyton Beach, Florida. Katz invested
approximately $22,000 of his retirement savings with MRT. Mr. Katz has not received
his interest payment for September, 2007, nor has he received the return of part of his
principal investment that he has repeatedly requested and that he needs to pay for medical
expenses.

22, Eloise Dabney resides in Pembroke Pines, Florida. She invested $8,000 of
her money with MRT.

23. Ricky Tate resides in Pembroke Pines, Florida. He invested about
$90,000 of his money with MRT. Mr. Tate has not received any interest payments in at
least five months, despite making repeated requests for his payments.

24. Patricia Jackson resides in Miami, Florida and invested significant funds
with MRT.

25, Nyra Horowitz resides in Boyton Beach, Florida and invested significant
funds with MRT.

26. Pamela Richard Brown resides in Miami, Florida and invested significant
funds with MRT.

27. Harriet Geyer is a retired widow. She resides in Boyton Beach, Florida

and invested $140,000, fully one-half of her retirement savings, with MRT. MRT
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promised Geyer twenty-four percent (24%) interest but has failed to meet its obligations
to Geyer.

28. Annette Shirley Mair resides in Lake Worth, Florida and invested
significant funds with MRT.

29, Lewis J. Seiden and Phyllis Seiden reside in Boyton Beach, Florida and
invested significant funds with MRT.

FACTS

30. Beginning in or about March, 2006 through the present, MRT, under
Clements’s direction, offered promissory note investments to the general public. The
investments were offered for the purpose of allowing MRT to trade in foreign currencies,
purportedly through unidentified Swiss banks. In return for this investment capital,
MRT and the individual defendants promised investors fixed rates of return as high as
over one hundred percent (100%) annually, payable in monthly interest payments.

31. The investments were sold through various means, including direct
solicitations by Clements and Bradshaw; internet advertising; sales meetings held in
Tennessee; and through a pyramid marketing scheme.

32. MRT purports to manage its FOREX trading activities.

33. MRT, the individual defendants, and yet-unnamed co-conspirators have
used the United States mails, telephones, and the internet to market their investment
contracts.

34. MRT operates a website, www.mrt.moonfruit.com, which contains
statements like “MRT is a[n] international management company that specializes in

many different products and services. We currently offer two different types of accounts,
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including a CD style account and a Savings style account. Our diversified portfolio
includes stocks, bonds, currency trading, credit derivatives, arbitrage, metals, and real
estate. Our bankers, traders and financial advisors are all employed by of affiliated with
Swiss banks.”

35. The website offers a brief description of MRT and brief descriptions of
MRT’s purported business. Both are false and falsely represent as follows:

MRT Holdings can receive, manage, and invest third party
Funds. It can conduct business with clients worldwide
through the internet. * * * MRT Holdings offers savings
accounts, investment accounts, brokerage services, and
asset protection services. * * * Our diversified portfolio
includes stocks, bonds, currency trading, credit derivatives,
arbitrage, metals, and real estate. One investment strategy
used is Algorithms. Algorithms is a mathematical
computerized technology that provides significant benefits
in investing and trading applications, such as, stock prices,
determining asset allocation, forecasting portfolio changes
and prediction of foreign exchange rates. * * * Our
bankers, traders and financial advisors are all employed by
or affiliated with Swiss banks. Each one holds the proper
credentials to meet Swiss law and the banks[’]
requirements. They are all CFA’s (Certified Financial
Advisors) and/or CAIA’s (Chartered Alternative
Investment Analysts) and hold a BA and MBA.

36. In March 2007, MRT sent out a letter to its current investors. The letter
continued to mislead investors by saying, for example, “MRT LLC [h]as had two great
years In our currency trading accounts.” That letter is attached hereto as Exhibit A and is
incorporated herein by reference.

37. During a personal meeting at Shells Restaurant with investors like Plaintiff
Ricky Tate, Defendant Clements repeated statements that he, Bradshaw, and MRT has
made to the public at large through MRT’s website. During this April 2006 meeting at

Shells Restaurant, Clements knowingly and falsely stated that MRT traded in foreign
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currencies outside of the United States and did so through Swiss banks, which he never
identified. Clements also said that investors’ interest payments depended entirely upon
the efforts and success of MRT’s activities in trading currency options and various
securities. Clements further misrepresented that MRT’s activities were profitable.

38, During sales meetings, held in Tennessee, Bradshaw and Clements
promised potential investors that investors could become millionaires if the investors
purchased MRT’s investment contracts.

39, In fact, all of the statements alleged herein were false and misleading
when those statements were made by the Defendants. In fact, MRT’s trading activities, if
any occurred at all, caused MRT to incur huge losses. MRT was not profitable. It was,
in fact, a classic Ponzi scheme that offered and sold unregistered investment contracts.

40. Defendants also knowingly misled investors to believe that their offering
of investment contracts was, in all respects legal, when, in fact, Defendants knew it was
not.

4]. MRT has consistently been dependent upon new investors to fund its
current obligations to investors.

42. MRT’s true financial condition and its total dependency upon new
investors has not been revealed to the class.

43, The Class has reasonably relied on Defendants’ misstatements identified
herein, and the misstatements and wrongs complained of herein are both the direct and

proximate cause of the class’s financial losses.
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CLASS ALLEGATIONS

44, The Class are purchasers of MRT’s investment contracts.

45, The Class Period runs from March 1, 2006 through the present.

46. Plaintiffs bring this lawsuit as a federal class action under Rules 23(a) and
23(b)(3) on behalf of all purchasers of MRT’s investment contracts, who purchased
during the Class Period, and who were damaged thereby. Excluded from the Class are the
Defendants, MRT’s officers, executives, and members of their immediate families, their
legal heirs or representatives, successors or assigns, or any entities in which Defendants
have or had a controlling interest.

47. The members of the Class are so numerous that joinder of all putative
members would not be practical.

48. Plaintiffs’ claims are typical of all class members in that all class members
are similarly harmed by Defendants’ willful and intentional violation of the federal
securities laws.

49. Plaintiffs will fairly and adequately represent the interests of the Class and
have retained counsel experienced in prosecuting federal securities class action litigation.

50, Common questions of law and fact exists and predominate over any
individual legal or factual questions. Those common questions include:

(a) Whether Defendants’ conduct violated the federal securities laws, as
alleged herein;

(bo) Whether Defendants offered and sold unregistered securities;
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(c) Whether Defendants’ statements to the investing public during the
Class Period materially misrepresented MRT’s business and financial
condition;

(d) To what extent the Class suffered damages, and whether the Class
stands entitled to rescind their transactions with MRT.

S1. A Class Action presents the superior means to all other means of resolving
the Class’s claims against Defendants.

SCIENTER ALLEGATIONS

52. As alleged herein, Defendants acted intentionally or with deliberate
recklessness in that they knew their securities were unregistered and that the statements
they disseminated to the investing public were false when made.

53. Defendants were motivated to engage in this fraudulent conduct because,
it is believed, that Defendants, as is the case in every Ponzi scheme, financed extravagant
lifestyles for themselves from the proceeds of their illegal securities offerings.

COUNT I—VIOLATIONS OF SECURITIES ACT SECTION S(a)

54, Plaintiffs here incorporate by reference paragraphs 1 through 55.

SS. From at least March 1, 2006 through the present, Defendants, directly and
indirectly, singly and in concert, have, and unless enjoined will continue to abuse the
instrumentalities of interstate commerce to offer and sell unregistered securities in

unexempt offerings to the general public.

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COUNT II—VIOLATIONS OF EXCHANGE ACT
SECTION 10(b) AND RULE 10b-5

56. Plaintiffs here incorporate by reference paragraphs 1 through 55.

57, During the Class Period alleged herein, Defendants have employed
schemes, and devices to make material and misleading statements of fact, and have
omitted to state material facts necessary in order to make the statements made, in the light
of the circumstances in which they were made, not misleading; and

58. Defendants have engaged in practices and a course of business that has
operated as a fraud and deceit upon all Class Members.

59. Defendants knowingly, or with deliberate recklessness, engaged in the
violations of the federal securities laws described herein, and they knowingly, or with
deliberate reckless, made the misstatements alleged herein.

60. The Defendants, via their website and wide dissemination through public
meetings. perpetrated a fraud upon the market.

ol. Further, the Class reasonably relied on Defendants’ statements to them
and purchased MRT’s unregistered securities, and now, have suffered great financial loss
because of that reliance.

COUNT III—CONTROL PERSON LIABILITY UNDER SECURITIES ACT § 15
AGAINST DEFENDANTS CLEMENTS, SMIDI, and BRADSHAW

62. Plaintiffs incorporate here by reference paragraphs 1 through 55.
63. Defendant Clements, through his position as a manager for MRT,
possessed the power and authority to cause MRT, through its website, to offer

unregistered securities for sale in a Ponzi scheme to the investing public.

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64, Defendant Smidi, through her position as a manager for MRT, possessed
the power and authority to cause MRT, through its website, to offer unregistered
securities for sale in a Ponzi scheme to the investing public.

6S. Defendant Bradshaw, through her senior position with MRT, possessed
the power and authority to cause MRT, through its website, to offer unregistered
securities for sale in a Ponzi scheme to the investing public.

66, By reason of such conduct, the individual defendants are here liable under
Securities Act § 15.

COUNT IV—CONTROL PERSON LIABILITY UNDER EXCHANGE ACT
SECTION 20(a) AGAINST DEFENDANTS CLEMENTS, SMIDI, and
BRADSHAW

67, Plaintiffs here reincorporate paragraphs | through 55.

68. Defendant Clements, through his position as a manager for MRT,
possessed the power and authority to cause MRT, through its website, to offer
unregistered securities for sale in a fraudulent Ponzi scheme to the investing public. He
controlled, authored, or approved the false and misleading statements MRT publicly
made.

69. Defendant Smidi, through her position as a manager for MRT, possessed
the power and authority to cause MRT, through its website, to offer unregistered
securities for sale in a fraudulent Ponzi scheme to the investing public. She controlled,
authored, or approved the false and misleading statements MRT publicly made.

70. Defendant Bradshaw, through her senior position with MRT, possessed

the power and authority to cause MRT, through its website, to offer unregistered

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securities for sale in a fraudulent Ponzi scheme to the investing public. She controlled,

authored, or approved the false and misleading statements MRT publicly made.

71, By reason of such conduct, the individual defendants are here liable under

Exchange Act § 20(a).

WHEREFORE, Plaintiffs demand injunctive relief: appointment of a receiver; an

order appointing them Lead Plaintiffs; an order certifying the Class; a jury trial on all

issues so triable; an order awarding them rescission for the unregistered securities sold to

them by Defendants; and an award of damages, including a reasonable attorney’s fee.

DATED: October 5, 2007.

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SONN & EREZ, PLC

 

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en R/S6n/ Esk. U/
Flogéda Bar No. 773
jsonn@sonnerez.com
500 East Broward Blvd., Suite 1600
Fort Lauderdale, FL 33394
(954) 763-4700
(954) 763-1866 (facsimile)
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EXHIBIT A
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| Ris otoines

Eloise Dabney
16420 N.w 18th Street
Pembroke Pines, FL 33028

Dear Friends, Clients, and Referral Account Managers,

MRT LLC Has had two great years in our currency trading accounts. We first started out with a backyard BBQ
idea and shared “The Secret” movie concept with you. We knew as a team of friends and family that we were
working toward something great.

We did it, we have grown into a $50,000,000.00 success. MRT HOLDINGS is proud and thankful for our
great success. Over these past years we continued to deliver your interest rate to each one of you even
though there were some extremely lean months in currency trading. We knew we had to keep our
commitments and promises to you as a lender to our company. We've had a great run, and have gained
substantial financial rewards. Time and the economic markets are changing and so is our companies’

philosophy.

For those of you that follow the stock market and Wall Street, economic reports are mixed and have had their
seesaw days. The world picture has changed along with our global emerging markets. We have hired
advisors, consultants to help us make a prudent, responsible decision for our company and for you as a
financial lender to our company.

We have been in transition for the last 6 months. We shared with you in our last letter that we have gone off
shore. MRT HOLDINGS is a licensed international capital management firm that is based in Nassau. As
with many other large corporations and companies, we feel this is the most productive and the best financial
move for you and our company. It allows us to be a capital diversified company, to guard your assets and give
all of us financial! privacy.

Our company has chosen to use the experience of Switzerland’s oldest, highly professional, prestigious and

prolific Swiss banking services. So many companies, corporations, rich investors, and the wealthiest people

of the world have been invested overseas for years. We want our money working with the best Swiss Banks
in Switzerland and advisors.

MRT HOLDINGS is entering into a new journey with the same ideals, reliability, commitments, responsibility,
and focus. We have been advised to exit the risky market of currency trading and we began searching for a
high yielding product that also offered a high level of security.

We introduce to you our Fixed Rate Account which assigns a promissory note to your principal and as
history dictates, pays up to 25% a year. The Fixed Rate Account has an option for renewal every year
and funds may be withdrawn once the note has expired (12 months).

We also offer a High Yield Savings Account which pays up to 15% a year. The Savings Account allows
for withdrawals monthly.
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July 1° will be the last statement with your present interest rate with MRT LLC. As of this date, all
accounts will be automatically transferred to MRT Holdings in a High Yield Savings Account. We urge
you to complete the new product forms that we have provided you with. This will assure you a smooth and
rapid transfer. We want your money to keep working and earning great returns for you.

Completing your transfer is easy:

1. Fill out the forms included and return to us at 7744 Peters Road #119, Plantation FL 33324.
Note: On Transfer Agreement Form, please include your 7/1/7 Balance.

2. Request a promissory note at www.mrtholdings.com.pa. (Click on Deposits) and complete the online
form. A promissory note will be emailed to you within 48 hours. Complete and return the note to the

address above.

Please note:

If you want monthly disbursements, be sure not to put all your funds in our Fixed Rate account. You might
want to open High Yield Savings account as well for your disbursements.

All future deposits MUST meet the minimum required deposit amount stated from the MRT HOLDINGS

website under that account type. The minimum amount required to open an account is $1,000.00 for the High
Yield Savings Account and $5,000.00 for the Fixed Rate Account.

Your letters of gratitude, inspiration, and joy have made a difference, and warmed our hearts.
We look to the future with you as our client, to keep our goals and financial prosperity on course.

Sincerely,

The MRT Support Team
Jim Clement and Zeina Smidi

Attachment: NEW ACCOUNT APPLICATION, TRANSFER AGREEMENT
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EXHIBIT A
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yUDGS
CIVIL COVER SHEET MAGISTRATES oY

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in Sentember 1974. is reauired for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) NOTICE: Attorneys. MUST Indicate All Re-filed Cases Bélow.

I. (a) PLAINTIFFS MARVIN A. KATZ; ELOISE DABNEY: RICKY TATE; DEFENDANTS
PAI . .
ATRICIA A, JACKSON; NYRA HOROWITZ; PAMELA MRT HOLDINGS, LLC; MRT, LLC:

RICHARD BROWN: HARREIT GEYER: ANNETTE : vot
SHIRELY MAIR: LEWIS JIM SEIDEN; nd PHYLLIS JAMES CLEMENTS; ZEINA SMIDI; and
ANN B. BRADSHAW

SEIDEN
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant BROWARD
(IN U.S, PLAINTIFF CASES ONLY)

(EXCEPT IN U.S. PLAINTIFF CASES)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT

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Oct -9 2007
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JS 44 (Rev. 11/05)

 

PALM BEACH

 

 

(¢) Attorney’s (Firm Name, Address, and Telephone Number)

Jeffrey R. Sonn, Sonn & Erez, PLC, 500 East Broward Blvd., # 1600
Fort Lauderdale, FL 33394 Attorneys (If Known)

(954) 763-4700 CIV- COHN 0 ” = 61 4. 3 &

(d) Check County Where Action Arose: O1MIAMI-DADE © MONROE YJ BROWARD 3 PALM BEACH O.MARTIN C1 STL

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Hf. BASIS OF JURISDICTION (Place an “X” in One Box Only) IH. CITIZENSHIP OF PRINCIPA PARTIES Sak ye One Hox for Plaintiff
(For Diversity Cases Only) . i endant)
O 1 U.S. Government 3 3 Federal Question PTF DEF PTF DEF
Plainnft (U.S. Government Not a Party) Citizen of This State a I O | Incorporated or Principal Place Oo 4 74
of Business In This State
O 2° U.S. Government 04 Diversity Citizen of Another State 9 2 O 2. Incorporated and Principal Place oO 5 m3
Defendant (indicate Citizenship of/Parties in Item III) of Business In Another State
) 0 Th Y/ Y BFA Ny _ B oS Citizen or Subject of a qa 3 QO 3. Foreign Nation oO 6 O86
L. ~ C Foreign Country
IV. NATURE OF SUIT (Place an ‘“X” in One [30x Only)
— een —
l CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY QTHER STATUTES J
O 110 insurance PERSONAL INJURY PERSONAL INJURY [0 610 Agriculture O 422 Appeal 28 USC 158 CI 400 State Reapportionment
O 120 Marine © 310 Airplane O 362 Personal Injury- |O 620 Other Food & Drug O) 423 Withdrawal CO 410 Antitrust
O 130 Miller Act © 315 Airplane Product Med. Malpractice 625 Drug Related Seimre 28 USC 157 C430 Banks and Banking
1 140 Negotiable Instrument Liability {J 365 Peisonal Injury - of Property 21 USC 881 GO 450 Commerce
C1 150 Recovery of Overpayment | [4 320 Assault, Libel & Product Liability 0 630 Liquor Laws PROPERTY RIGHTS 460 Deportation
& Enforcement of Judgment Slander QO 368 Asbestos Personal |0) 640 R.R. & Truck O 820 Copyrights [J 470 Racketeer Influenced and
0 151 Medicare Act J 330 Federal Employers’ Injury Product G 650 Airline Regs. O 830 Patent Corrupt Organizations
© 152 Recovery of Defaulted Liability Liability [) 660 Occupational & 840 Trademark 480 Consumer Credit
Student Loans © 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat TV
(Excl. Veterans) OC 345 Marine Product © 370 Other Fraud O 690 Other OG 810 Selective Service
OG 153 Recovery of Overpayment Liability O 371 Truth in Lending LABOR SOCIAL SECURITY. @ 850 Securities/Commodities/
of Veteran’s Benefits 7 350 Motor Vehicle O 380 Other Personat 0 710 Fair Labor Standards O 861 HIA (1395f)) Exchange
QO 160 Stockholders’ Suits © 355 Motor Vehicle Property Damage Act OF 862 Black Lung (923) 1 875 Customer Challenge
Cl 190 Other Contract Product Liability (J 385 Property Damage [GQ 720 Labor/Mgmt. Relations [0 863 DIWC/DIWW (405(g)) 12 USC 3410
© 195 Contract Product Liability | 360 Other Personal Product Liability O 730 Labor/Mgmt.Reporting |( 864 SSID Title XVI OG 890 Other Statutory Actions
O 196 Franchise Injury & Disclosure Act 865 RSI (405(z)) ( 891 Agricultural Acts
([__REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |[ 740 Railway Labor Act FEDERAL TAX SUITS: C892 Economic Stabilization Act
O 210 Land Condemnation 3441 Voting J 510 Motions to Vacate | 790 Qther Labor Litigation 0 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
O 220 Foreclosure GO 442 Employment Sentence O 791 Empl. Ret. Inc. or Defendant) (J 894 Energy Allocation Act
07,230 Rent Lease & Ejectment 443 Housing/ Habeas Corpus: Security Act O 87) IRS—Third Party O 895 Freedom of Information
240 Torts to Land Accommodations © 530 General 26 USC 7609 Act
WES 245 Tort Product Liability 0 444 Welfare TJ 535 Death Penalty  900Appeal of Fee Detennination
© 290 All Other Real Property 0 445 Amer. w/Disabilities- | 540 Mandamus & Othe Under Equal Access
Employment {J $50 Civil Rights to Justice
3 446 Amer. w/Disabilities- {0} 555 Prison Condition O 950 Constitutionality of
Other State Statutes
440 Other Civil Rights
V. ORIGIN (Place an “X” in One Box Only) Transferred from Appeal to District
Zi Original [J 2 Removed from (I 3. Re-filed- J 4 Reinstatedor 5 another district. (0 6 Multidistrict 7 Mage from
Proceeding State Court (see VI below) Reopened (specify) Litigation Judgment

 

VI. RELATED/RE-FILED

CASE(S).

(See instructions
second page):

 

a) Re-filed Case TIYES MNO

JUDGE

b) Related Cases TIYES [INO

DOCKET
NUMBER

 

VII. CAUSE OF
ACTION

diversity):

 

LENGTH OF TRIAL via 10 days estimated (for both sides to try entire case)

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless

 

DEMAND §

CHECK YES only if demanded in complaint:
JURY DEMAND: =f Yes [1 No

4) CHECK IF THIS IS A CLASS ACTION

UNDER F.R.C.P. 23
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VIH, REQUESTED IN
COMPLAINT:

ABOVE INFORMATION IS TRUE & CORRECT TO
THE BEST OF MY KNOWLEDGE

 

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